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   1                               NOTE: CHANGES HAVE BEEN
                                   MADE TO THIS DOCUMENT
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   8                      UNITED STATES DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
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  11   UNICOLORS, INC.,                      Case No.: CV14-1029 SJO (VBK)
                                             Honorable S. James Otero Presiding
  12
       Plaintiff,
                                             [PROPOSED] AMENDED
  13
                                             JUDGMENT
       v.
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  15   URBAN OUTFITTERS, INC.; et al.,
  16
       Defendants.
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                               [PROPOSED] AMENDED JUDGMENT
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                            [PROPOSED] AMENDED JUDGMENT

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              On February 17, 2015, the Court entered an order (U.S.D.C. Dkt. No. 164)

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       granting in part Plaintiff Unicolors Inc.’s (“Unicolors”) motion for summary

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       judgment and denying the motion for summary judgment filed by Defendants Urban

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       Outfitters, Inc., doing business as “Free People” (collectively, “Urban”) and Century

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       21 Department Stores, LLC (“Century”). The Court ruled that both Urban and

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       Century infringed Unicolors copyrights in Unicolors’ proprietary fabric design.

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              The action proceeded to trial before a jury on February 24, 2015. Witnesses

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       were sworn and testified. Evidence and argument of counsel were received by the

  10   Court and jury. The jury returned its verdict on February 26, 2016, finding that

  11   Urban’s infringement was willful and awarding $16,000.00 to Unicolors for lost

  12   profits, $147,000.00 in damages against Urban, and $1,400.00 in damages against

  13   Century.

  14          On March 17, 2015, the Court entered a Judgment against the Defendants in

  15   this action. See U.S.D.C. Dkt. No. 191. On March 31, 2015, Plaintiff filed a Motion

  16   for Costs and Attorneys’ Fees (“Motion”). After considering the Motion, and for

  17   good cause appearing, Plaintiff’s Motion was granted in part, and it was ordered that

  18   Unicolors was to recover from Urban and Century its attorneys’ fees in the amount of
  19   $357,203.50 and its case costs in the amount of $9,706.67. See U.S.D.C. Dkt. No.
  20   226.
  21          ACCORDINGLY, THE COURT ORDERS AND ENTERS AN
  22   AMENDED JUDGMENT FOR PLAINTIFF AS FOLLOWS:
  23          1.    Unicolors, Inc. owns a valid copyright registrations for design PE 1130;
  24          2.    Urban Outfitters, Inc. is liable for the willful infringement of Unicolors,
  25   Inc.’s rights in design PE 1130;
  26          3.    Century 21 Department Stores, LLC is liable for its infringement of
  27   Unicolors, Inc.’s rights in design PE 1130;
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                                   [PROPOSED] AMENDED JUDGMENT
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             4.     Judgment is entered against Defendant Urban Outfitters, Inc., and in

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       favor of Unicolors, Inc., in the amount of one hundred forty-seven thousand dollars

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       and no cents ($147,000.00);

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             5.     Judgment is entered against Defendant Century 21 Department Stores,

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       LLC, and in favor of Unicolors, Inc., in the amount of one thousand four hundred

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       dollars and no cents ($1,400.00);

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             6.     Judgment is entered against Defendants, and in favor of Unicolors, Inc.,

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       in the amount of sixteen thousand dollars and no cents ($16,000.00), with Defendants

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       being jointly and severally liable to Plaintiff for this sum;

  10         7.     Judgment is entered against Defendants, and in favor of Unicolors, Inc.,

  11   in the amount of three hundred sixty-six thousand nine hundred and ten dollars and

  12   seventeen cents ($366,910.17), which sum comprises $357,203.50 in attorneys’ fees

  13   and $9,706.67 in litigation costs, with Defendants being jointly and severally liable to

  14   Plaintiff for this sum;

  15         8.     The total amount of the Judgment entered hereby against Urban

  16   Outfitters, Inc., and in favor of Unicolors, Inc., is five hundred twenty-nine thousand

  17   nine hundred and ten dollars and seventeen cents ($529,910.17).
  18         9.     The total amount of the Judgment entered hereby against Century 21
  19   Department Stores, LLC, and in favor of Unicolors, Inc., is three hundred eighty-four
  20   thousand three hundred and ten dollars and seventeen cents ($384,310.17).
  21         10.    Post-judgment interest is awarded against Defendants Urban Outfitters,
  22   Inc. and Century 21 Department Stores, LLC in an amount that is to be calculated
  23   from the date of the entry of the Judgment at a rate equal to 0.29 percent of the total
  24   amount of this Judgment, the weekly average 1-year constant maturity Treasury
  25   yield, as published by the Board of Governors of the Federal Reserve System, for the
  26   calendar week preceding the date of this judgment, or as prescribed by law, computed
  27   daily, and compounded annually; and
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                                     [PROPOSED] AMENDED JUDGMENT
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             11.    This Court will retain jurisdiction to consider any motions for costs and

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       attorneys’ fees incurred in connection with post-trial and enforcement proceedings

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       that postdate this Order.

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             IT IS ORDERED AND ADJUDGED THAT THE ABOVE AMENDED

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       JUDGMENT BE ENTERED BY THE CLERK.

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       Dated: June 2, 2015         By: ____________________________________
                                            UNITED STATES DISTRICT JUDGE
   8                                        HONORABLE S. JAMES OTERO
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                                    [PROPOSED] AMENDED JUDGMENT
